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                          THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division


R.M.S. TITANIC, INC.,
Successor in interest to Titanic
Ventures, limited partnership,

          Plaintiff,

v.                                                    Civil Action No.: 2:93cv902

The Wrecked and Abandoned
Vessel, . . . believed to be
The RMS TITANIC, in rem,

          Defendant.


          TRUSTEES OF THE NATIONAL MARITIME MUSEUM RESPONSE TO
              PLAINTIFF’S OBJECTION TO NOTICE OF APPEARANCE

          COMES NOW the Trustees of the National Maritime Museum (“NMM”), by and

through undersigned counsel, responding to the Objection to Notice of Appearance filed by

Plaintiff R.M.S. TITANIC, Inc. (“RMST”). The Museum responds as follows:

          NMM was founded by an Act of the U.K. Parliament in 1934. It is the largest and

preeminent maritime museum in the world and it includes the Queen’s House, the Royal

Observatory, Greenwich and the clipper ship Cutty Sark. The collective brand name for the four

sites is Royal Museums Greenwich. NMM is a statutory corporation and a charity. It is one of a

select group of national museums and galleries that receives direct government funding from

Parliament.

          NMM is the leading custodian of the United Kingdom’s maritime heritage. NMM’s in-

house professional conservation experts have significant experience in the preservation and

conservation of maritime artifacts for the benefit of the public, now and in the future, and



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NMM’s standards and procedures are externally audited and accredited as such every three

years.

          In June 2016, RMST and certain of its affiliates (collectively, the “Debtors”) filed

voluntary petitions for relief under Chapter 11 of the Bankruptcy Code in the United States

Bankruptcy Court for the Middle District of Florida, Jacksonville Division (the “Bankruptcy

Court”) under docket number 3:16bk02230 (the “Bankruptcy”). Bankruptcy Docket 1.

          On June 15, 2018, the Debtors filed a motion (the “Sale Motion”) proposing to sell

substantially all of the assets of the Debtors’ estates, including 100% of the capital stock of

RMST, to Premier Acquisition Holdings LLC (the “Stalking Horse Purchaser”), an entity formed

by affiliates of Apollo Global Management, LLC and Alta Fundamental Advisers LLC, Haiping

Zou, Lange Feng, Jihe Zhang, and PacBridge Capital Partners (HK) Ltd. Bankruptcy Docket

1055. The Sale Motion and the Asset Purchase Agreement attached thereto as Exhibit B require

that this Court approve the sale of 100% of the capital stock of RMST to the Stalking Horse

Purchase. Id. at ¶ 32(l). On June 29, 2018, the Debtors filed with this Court a motion to approve

the Asset Purchase Agreement and authorize the sale of 100% of the capital stock of RMST to

the Stalking Horse Purchaser.

          On June 29, 2018, NMM, the Official Committee of Unsecured Creditors, the Board of

Trustees of the National Museums and Galleries of Northern Ireland (“NMNI”), and Running

Subway Productions, LLC (together, the “Museum Plan Proponents”) filed a joint chapter 11

plan and disclosure statement (the “Museum Plan”) in the Bankruptcy. Bankruptcy Docket

1084-1085. The Museum Plan provides, among other things, that NMM and NMNI would

(x) be the Trustees of the Subject TITANIC Artifact Collection and (y) obtain all other rights and




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interests of RMST with respect to the TITANIC Collections.1 It is a condition precedent to the

effective date of the Museum Plan that this Court approve NMM and NMNI as subsequent

Trustees of the Subject TITANIC Artifact Collection and the transfer of RMST’s other rights and

interests with respect to the TITANIC Collections to NMM and NMNI.

          The Museum Plan is supported by a variety of constituents in the Debtors’ bankruptcy

cases and individuals and organizations associated with the R.M.S. Titanic, including Dr. Robert

Ballard and the National Geographic Society. It is the goal of NMM to return the TITANIC

Collections home in the United Kingdom, to be held in perpetual public ownership, to be

conserved and curated as an integral whole, and to be saved for posterity for public display,

historical review, scientific and scholarly research and educational purposes.

          RMST has filed papers in this Court referencing the Museum Plan that may have an

impact on the Bankruptcy. In light of the foregoing, we submit that the notice of appearance

filed with this Court was proper and that the objection to our notice of appearance be denied.




         Capitalized terms used but not defined herein shall have the meanings ascribed to them
          1

in the Revised Covenants and Conditions.

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                                   TRUSTEES OF THE NATIONAL MARITIME
                                   MUSEUM


                                   By: /s/ Edward J. Powers
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                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that the foregoing pleading was electronically filed with the
Court’s ECF system causing ECF notification to be sent to all counsel of record.



                                                  /s/ Edward J. Powers

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